988 F.2d 128
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Ralph M. MALONE, Petitioner,v.DEPARTMENT OF the TREASURY, Respondent,andMerit Systems Protection Board, Intervenor.
    No. 92-3625.
    United States Court of Appeals, Federal Circuit.
    Dec. 23, 1992.
    
      REMANDED.
    
    ON MOTION
    ORDER
    
      1
      The Merit Systems Protection Board moves for leave to intervene for the limited purpose of moving to remand this case to the Board for further consideration.   Ralph M. Malone does not oppose.   The Department of the Treasury does not oppose.
    
    
      2
      Upon consideration thereof,
    
    IT IS ORDERED THAT:
    
      3
      (1) The motion for leave to intervene is granted.
    
    
      4
      (2) The motion to remand is granted.
    
    